                Case 2:10-cr-00424-KJM Document 34 Filed 12/17/10 Page 1 of 2


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 4
     Attorney for ASHLEY EVON,
 5   Defendant
 6
 7
 8                             IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                  )   No. 2:10-cr-00424 WBS
                                                )
12                       Plaintiff,             )   STIPULATION AND ORDER MODIFYING
                                                )   CONDITIONS OF PRETRIAL RELEASE
13         v.                                   )
                                                )
14   ASHLEY NICOLE EVON,                        )
                                                )
15                       Defendant.             )
                                                )
16                                              )
17
18         It is hereby stipulated and agreed by and between the parties hereto, through their
19   respective counsel, that the conditions of pretrial release imposed on defendant Ashley Evon on
20   October 22, 2010, by The Honorable Dale A. Drozd, United States Magistrate Judge, shall be
21   modified by adding the following, underlined language to special condition No. 11, as follows:
22         11. You shall not associate or have verbal, written, telephonic or electronic
           communications with any person who is under the age of 18, with the exception of your
23         own child, except in the presence of another adult who is the parent or legal guardian of
           the minor. In addition, you will be authorized to associate with your only minor sister and
24         the one minor cousin previously approved by Pretrial Services without the presence of
           their parents or legal guardians if one or both of your grandparents (third party
25         custodians) are present at all times.
26         This modification was approved by Pretrial Services upon receipt of written authorizations
27   from the parents of the above minor sister and cousin. The parents were also informed of the
28                                                  ///


                                                    -1-
              Case 2:10-cr-00424-KJM Document 34 Filed 12/17/10 Page 2 of 2


 1   nature and circumstances of the pending charges against the defendant. All other conditions of
 2   release shall remain in effect.
 3
 4   Dated: December 10, 2010                               /s/ Candace A. Fry
 5                                                         CANDACE A. FRY, Attorney for
                                                           ASHLEY EVON, Defendant
 6
 7
     Dated: December 10, 2010                                    BENJAMIN WAGNER
 8                                                         United States Attorney
 9                                                    By     /s/ Candace A. Fry for
10                                                         CAROLYN K. DELANEY,
                                                           First Assistant United States Attorney
11
                                                           (Signed for Ms. Delaney with her
12                                                         prior authorization)
13
14
15                                             ORDER
16
17          IT IS SO ORDERED.
18
19   Dated: December 15, 2010
20
21
                                                   /s/ Kendall J. Newman
22                                                 KENDALL J. NEWMAN
                                                   UNITED STATES MAGISTRATE JUDGE
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